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 6
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 7   United States of America

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 9

10                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12    UNITED STATES OF AMERICA,                       No. 1:15-CR-00329 DAD
13                                  Plaintiff,
14                           v.                    STIPULATION TO CONTINUE SENTENCING;
15                                                 and ORDER
      JESSE MENDOZA,
16                                 Defendant.
17

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19
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
20
     Attorney and Melanie L. Alsworth, Assistant U.S. Attorney, and Anthony Capozzi, attorney for
21
     defendant, that the sentencing set for, February 25, 2019, at 10:00 am before the Honorable Dale
22
     A. Drozd, U.S. District Court Judge, be continued to March 11, 2019 at 10:00 a.m.
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 1           Government Counsel was out of the office for an extended period of time due to a family

 2   emergency, and was unable to submit informal objections to the Presentence Report until January

 3   29, 2019. Nisha Modica, United States Probationer Officer, advised counsel on February 4, 2019,

 4   that she requires additional time to review the documentation in support of the information

 5   objections and to revise the Presentence Report, if necessary. Defense counsel does not object to

 6   this request.

 7           Counsel, therefore, stipulate to the following revised schedule:

 8           1.      Informal objections having been made, the final Presentence Report will be

 9                   provided to the parties on or before February 19, 2019;

10           2.      Formal objections to the Presentence Report will be filed on or before February

11                   28, 2019; and

12           3.      The sentencing in this matter should be rescheduled to March 11, 2019 at 10:00

13                   a.m.

14                                                          Respectfully submitted,
15   Dated: February 4, 2019                                McGREGOR W. SCOTT
                                                            United States Attorney
16
                                                   By       /s/ Melanie L. Alsworth
17                                                          MELANIE L. ALSWORTH
                                                            Assistant U.S. Attorney
18
     Dated: February 4, 2019                                /s/ Anthony Capozzi
19                                                          ANTHONY CAPOZZI
                                                            Attorney for Defendant
20
                                                 ORDER
21

22           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the sentencing hearing

23   set for Monday, February 25, 2019 at 10:00 a.m. before the Honorable Dale A. Drozd be continued

24   to Monday, March 11, 2019, at 10:00 a.m.

25   IT IS SO ORDERED.
26
         Dated:      February 4, 2019
27                                                      UNITED STATES DISTRICT JUDGE

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